 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 1 of 51 PageID 2755



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

SUSTAINABLE MODULAR                         §
MANAGEMENT, INC.,                           §
                                            §
                            Plaintiff,      §
                                            § Civil Action No. 3:20-CV-1883-D
VS.                                         §
                                            §
THE TRAVELERS LLOYDS                        §
INSURANCE COMPANY                           §
                                            §
                            Defendant.      §

                               MEMORANDUM OPINION
                                   AND ORDER

       Plaintiff Sustainable Modular Management, Inc. (“SMM”) sues defendant The

Travelers Lloyds Insurance Company (“Travelers”) to recover on contractual and

extracontractual claims arising from Travelers’ denial of coverage under a builders’ risk

policy for mold and moisture damage to a modular building that SMM constructed in Hawaii.

Travelers moves for summary judgment, relying principally on policy exclusions. For the

following reasons, the court grants the motion in part and denies it in part.

                                              I

       At issue is a Travelers commercial inland marine insurance policy, Policy Number

QT-660-2F253322-TLC-16 (“Policy”), that provided first party property coverage under a

Construction Pak-Builders’ Risk Coverage Form for two modular buildings that SMM
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 2 of 51 PageID 2756



constructed in Honolulu, Hawaii.1 Under the Policy, Travelers agreed to pay “for direct

physical loss of or damage to Covered Property caused by or resulting from a Covered Cause

of Loss.” D. App. (ECF No. 66-1) at 31.

       SMM installed the building at issue (the “Building”)2 under a subcontract with

AECOM Technical Services, Inc. (“AECOM”). Under the terms of the subcontract,

AECOM was responsible for readying the building site, including site grading, and SMM

was responsible for fabricating and installing the Building. The Building itself is comprised

of 18 separate modular sections joined at “matelines” to form a single structure measuring

approximately 220 feet long and 60 feet wide. The Building is installed on a pier foundation,

leaving approximately three feet of enclosed crawl space between the ground and the

underside of the building.

       SMM completed construction by May 2017 and turned the Building over to AECOM

and the U.S. Government. Several months later, elevated moisture levels and visible mold

growth were observed inside the Building’s walls. Removal of the drywall revealed moisture

and mold damage inside the walls in the proximity of the matelines. The mold and moisture

damage was centered at the floor and went up the wall about halfway, but did not reach to



       1
        In recounting the factual background, the court summarizes the evidence in the light
most favorable to SMM as the summary judgment nonmovant and draws all reasonable
inferences in its favor. See, e.g., Owens v. Mercedes-Benz USA, LLC, 541 F.Supp.2d 869,
870 n.1 (N.D. Tex. 2008) (Fitzwater, C.J.).
       2
       The Building is a forensic toxicology and drug testing lab. It is undisputed that the
Building constitutes “Covered Property” under the Policy.

                                            -2-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 3 of 51 PageID 2757



the ceiling.

       AECOM hired Environmental Risk Analysis, LLC (“ERA”) to conduct a mold and

moisture assessment of the Building. In an August 25, 2017 report (“First ERA Report”),

ERA concluded:

               ERA believes elevated moisture is due to condensation from
               inadequate insulation on the floor of the trailers at the mate
               lines, combined with high humidity and moisture observed in
               the soil beneath Building 160. Sealing the gaps in the floor of
               the office and addressing the elevated moisture observed in soil
               under the building is recommended to prevent a recurrence.

Id. at 384.

       Todd Welch (“Welch”), the SMM Superintendent who oversaw installation of the

Building, assisted in remediating the damage in September 2017.             Welch oversaw

replacement of the damaged interior drywall and the sealing of any small voids at the floor

matelines with a foam sealing spray. For its part, AECOM hired a roofing contractor—MRC

Roofing (“MRC”)—to perform patch repairs on the roof, including patching cuts and holes

in the roof membrane and striping in roof penetrations created for exhaust fans, pipe boots,

and ducts. The entire remediation process— drywall replacement, floor mateline sealing, and

roof repair—was complete by October 16, 2017.

       In early September 2017 SMM notified Travelers of the loss and sought coverage

under the Policy. Travelers assigned Eric Lee (“Lee”), an independent adjuster who worked

for VeriClaim, Inc. (“VeriClaim”), to inspect the Building. During the inspection on

September 21, 2017, Lee took photographs of the interior of the Building (where the drywall


                                             -3-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 4 of 51 PageID 2758



had been removed) and took numerous photographs of the patchwork repair that MRC had

performed on the roof. According to Travelers, Welch indicated to Lee that it was the

prevailing belief that the water intrusion was from the crawl space under the Building.

       Following a heavy rainfall, water was observed on October 23, 2017 coming from the

bottom of the walls, and “ponding” on the tile surface was seen in several areas of the

Building. After the rain event, ERA performed another assessment. In a November 3, 2017

report (“Second ERA Report”), it concluded: “ERA believes elevated moisture was due to

intrusion through the roofing materials.” Id. at 542. The entire roof was then covered with

a white hydrostop coating, and leaks ceased to be a problem.

       On December 6, 2017 Jim Floyd (“Floyd”) inspected the Building in an attempt to

determine the cause of the water intrusion and mold growth. Floyd worked for The Vertex

Companies, Inc. (“Vertex”), a third-party consulting firm whom Travelers retained. Vertex

issued a December 20, 2017 report (“First Vertex Report”) in which it concluded that

deficient site grading, coupled with the lack of ventilation in the skirting that enclosed the

crawl space, caused the water intrusion. The First Vertex Report noted that Vertex “did not

observe evidence indicating that the reported excessive moisture and microbial growth was

attributable to roof leaks.” Id. at 394.

       Based on the First Vertex Report, Travelers concluded that the damage to the Building

had been caused by surface water and defective construction, neither of which was a covered

cause of loss under the Policy. In January 2018 Adam McClure (“McClure”), the Travelers

adjuster assigned to SMM’s claim, contacted Nick Mackie (“Mackie”), SMM’s CEO, to

                                            -4-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 5 of 51 PageID 2759



inform him of the findings in the First Vertex Report and to explain that Travelers would not

reimburse SMM for the repair costs. SMM maintains that, during their conversation,

McClure suggested to Mackie that SMM use the First Vertex Report to seek reimbursement

for the repair work from AECOM.

       In January 2018 SMM made demand on AECOM for, inter alia, reimbursement of

the expenses it had incurred addressing the water and mold damage. SMM included a copy

of the First Vertex Report and asserted that the water intrusion was the result of improper

drainage and the lack of a moisture barrier in the crawl space. AECOM rejected SMM’s

demand and asserted that SMM’s defective work had led to the moisture intrusion. AECOM

noted information related to leaks in the roof, including roof penetrations around ductwork

that were improperly sealed. AECOM also criticized Vertex’s conclusion that the water

intrusion did not come from the roof, and it noted that, even under the First Vertex Report,

if moisture was coming from the crawl space, Vertex had pointed to a lack of proper venting

as a contributing cause. AECOM asserted that SMM owed it for costs it had incurred as a

result of SMM’s defective work, relying on the First and Second ERA Reports to explain

why the moisture intrusion was SMM’s responsibility. SMM replied that any roof leaks were

caused by AECOM and its subcontractors, who had performed maintenance or other work

on the roof, and that site grading was the cause of the mold and moisture in the walls.

       On April 30, 2018 Premier Restoration, a remediation company whom SMM had

hired to address the mold and moisture damage, sued SMM in the United States District

Court for the District of Hawaii (“Hawaii Litigation”) seeking payment for work it had

                                            -5-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 6 of 51 PageID 2760



performed at the Building. SMM filed a third-party complaint against AECOM, alleging that

the water intrusion was caused by AECOM’s inadequate site preparation and the lack of a

vapor barrier under the Building. AECOM counterclaimed against SMM, asserting that the

moisture intrusion was due to SMM’s work, including inadequate insulation of the trailers

at the matelines, inadequate ventilation of the skirting around the crawl space, and

deficiencies in the roof and matelines.

       In June 2018 Travelers denied SMM’s claim under the Policy in writing. The denial

letter relied heavily on the First Vertex Report and concluded, in pertinent part:

              The loss location in question falls under the Flood Zone A and
              a review of your Declaration page indicates that flood coverage
              was not selected for this specific flood zone. Additionally, the
              above referenced Builders’ Risk policy is not intended to
              provide coverage for any portion of the construction that is as a
              result of faulty planning or inadequate materials used in
              construction. Based off of the VERTEX engineering inspection
              report and the applicable Builders Risk policy language detailed
              above, we will be unable to provide coverage for the damages
              presented to the [Building].

P. App. (ECF No. 70-1) at 176.

       In April 2019 SMM requested that Travelers reconsider coverage for loss in light of

“new information” discovered in connection with the Hawaii Litigation. Travelers forwarded

SMM’s materials to Vertex and asked it to consider whether any of the new information

impacted Vertex’s opinions. On September 25, 2019 Vertex issued a supplemental report

(“Supplemental Vertex Report”) concluding that “the damage to the interiors of Building 160

was most likely due to water intrusion originating at the roof mate-lines and various roof


                                            -6-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 7 of 51 PageID 2761



penetrations.” D. App. (ECF No. 66-1) at 660-61. After SMM received the Supplemental

Vertex Report, it settled the Hawaii Litigation with AECOM.

       In early 2020, Travelers again denied SMM’s claim under the Policy. It explained,

in an April 28, 2020 letter:

              In [the Supplemental Vertex Report], Vertex identified that the
              interior damage was due to water intrusion originating at the
              roof mate-lines and various roof penetrations, which then
              followed a path along the modular box framing and that came to
              rest at the floor level of the boxes. Our investigation revealed
              that the exterior of the building did not sustain any initial
              damage from a Covered Cause of Loss that allowed the water to
              enter. Additionally, the above referenced Builders’ Risk policy
              does not cover damage from mold or fungus that does not result
              from a “specified cause[] of loss[.”] In this case, there was no
              “specified cause of loss.” Therefore, we will be unable to
              provide coverage under this policy for your claim.

P. App. (ECF No. 70-1) at 200.

       SMM then filed the instant lawsuit against Travelers in Texas state court. Travelers

removed the case to this court based on diversity jurisdiction. In its amended complaint,

which is its operative pleading, SMM alleges claims for breach of contract, violation of Tex.

Ins. Code Ann. § 541.060(a)(7) (West 2019), violation of Tex. Ins. Code Ann. § 541.061(1)-

(3) (West 2019), common law fraud, fraudulent concealment, and negligent

misrepresentation. Travelers moves for summary judgment on all of SMM’s claims.3 SMM

opposes Travelers’ motion. The court is deciding the motion on the briefs.


       3
        Also pending is Travelers’ motion to exclude the expert testimony of Stephen S.
Collins. This motion is being decided in a separate memorandum opinion and order filed
today.

                                            -7-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 8 of 51 PageID 2762



                                               II

       When a party moves for summary judgment on a claim on which the opposing party

will bear the burden of proof at trial, the moving party can meet its summary judgment

obligation by pointing the court to the absence of admissible evidence to support the

nonmovant’s claims. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). Once the

moving party does so, the nonmovant must go beyond its pleadings and designate specific

facts showing there is a genuine issue for trial. See id. at 324; Little v. Liquid Air Corp., 37

F.3d 1069, 1075 (5th Cir. 1994) (en banc) (per curiam). An issue is genuine if the evidence

is such that a reasonable jury could return a verdict in the nonmovant’s favor. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The nonmovant’s failure to produce proof

as to any essential element of a claim renders all other facts immaterial. See TruGreen

Landcare, L.L.C. v. Scott, 512 F.Supp.2d 613, 623 (N.D. Tex. 2007) (Fitzwater, J.).

Summary judgment is mandatory if the nonmovant fails to meet its burden. Little, 37 F.3d

at 1076.

       For claims on which the moving party will bear the burden of proof at trial, to be

entitled to summary judgment the movant “must establish ‘beyond peradventure all of the

essential elements of the claim[.]’” Bank One, Tex., N.A. v. Prudential Ins. Co. of Am., 878

F. Supp. 943, 962 (N.D. Tex. 1995) (Fitzwater, J.) (quoting Fontenot v. Upjohn Co., 780

F.2d 1190, 1194 (5th Cir. 1986)). This means that the movant must demonstrate that there

are no genuine and material fact disputes and that it is entitled to summary judgment as a

matter of law. See Martin v. Alamo Cmty. Coll. Dist., 353 F.3d 409, 412 (5th Cir. 2003).

                                             -8-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 9 of 51 PageID 2763



“The court has noted that the ‘beyond peradventure’ standard is ‘heavy.’” Carolina Cas. Ins.

Co. v. Sowell, 603 F.Supp.2d 914, 923-24 (N.D. Tex. 2009) (Fitzwater, C.J.) (quoting Cont’l

Cas. Co. v. St. Paul Fire & Marine Ins. Co., 2007 WL 2403656, at *10 (N.D. Tex. Aug. 23,

2007) (Fitzwater, J.)).

                                              III

       The court begins with SMM’s breach of contract claim. Under Texas law,4 a party

seeking to recover for breach of an insurance contract bears the initial “burden of establishing

coverage under the terms of the policy.” Gilbert Tex. Constr., L.P. v. Underwriters at

Lloyd’s London, 327 S.W.3d 118, 124 (Tex. 2010) (citation omitted); see also Davis v. Nat’l

Lloyds Ins. Co., 484 S.W.3d 459, 468 (Tex. App. 2015, pet. denied) (“[I]n the context of an

insurance policy, a plaintiff must prove the existence of a valid insurance policy covering the

denied claim and entitlement to money damages on that claim.” (citation omitted)). Once

general coverage is established, the burden then shifts to the insurer to show that an exclusion

applies and negates coverage. JAW The Pointe, L.L.C. v. Lexington Ins. Co., 460 S.W.3d

597, 603 (Tex. 2015) (quoting Gilbert, 327 S.W.3d at 124). “Exclusions are narrowly

construed, and all reasonable inferences must be drawn in the insured’s favor.” Gore Design

Completions, Ltd. v. Hartford Fire Ins. Co., 538 F.3d 365, 370 (5th Cir. 2008) (citation



       4
         Under the Texas Insurance Code, “[a]ny contract of insurance payable to any citizen
or inhabitant of this State by any insurance company or corporation doing business within
this State shall be held to be a contract made and entered into under and by virtue of the laws
of this State relating to insurance, and governed thereby.” Tex. Ins. Code Ann. art. 21.42
(West 2009). Accordingly, Texas law applies to this insurance dispute.

                                             -9-
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 10 of 51 PageID 2764



omitted). “If the insurer proves that an exclusion applies, the burden shifts back to the

insured to show that an exception to the exclusion brings the claim back within coverage.”

Gilbert, 327 S.W.3d at 124 (citations omitted).

       The Policy is an “all risk” policy that provides coverage for all losses “caused by or

resulting from a Covered Cause of Loss.” D. App. (ECF No. 66-1) at 31. A “Covered Cause

of Loss” includes all “risks of direct physical loss unless the loss is excluded in Section B -

Exclusions.” Id. at 32 (capitalization omitted). Travelers maintains that the loss at

issue—i.e., the moisture damage to the walls of the Building—is excluded under one or more

of the following Policy exclusions: the water damage exclusion; the defective workmanship,

construction, and maintenance exclusion; the rain exclusion; and the fungus exclusion. The

court will consider each of these exclusions in turn. Because Travelers will bear the burden

of proof at trial with respect to the Policy exclusions, to be entitled to summary judgment it

must establish beyond peradventure that the exclusion in question applies.

                                              IV

       Travelers moves for summary judgment on SMM’s breach of contract claim on the

ground that the Policy excludes coverage for each of the four possible theories of causation

of the moisture damage in the walls—(1) humidity from the crawl space rose into the walls

after improper site grading allowed water to pool and pond under the trailer, (2) rainwater

entered through the roof matelines, (3) rainwater entered through roof penetrations created

by subcontractors stepping on sheet metal screws, or (4) rainwater entered through improper

flashing of penetrations like ducting of vents. Because SMM does not appear to dispute that

                                            - 10 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 11 of 51 PageID 2765



the Policy excludes coverage for several of these potential causes of loss, the court grants

Travelers’ motion in part as follows.

                                              A

       To the extent that the mold and moisture in the walls was caused by humidity and

moisture wicking up from surface water in the crawl space under the Building, the court

holds that the water damage exclusion (“Exclusion B.1.g”) precludes coverage, regardless

of any other sources that may also have contributed to the loss.

       Exclusion B.1.g provides, in pertinent part:

              We will not pay for loss or damage caused directly or indirectly
              by any of the following. Such loss or damage is excluded
              regardless of any other cause or event that contributes
              concurrently or in any sequence to the loss or damage. These
              exclusions apply whether or not the loss event results in
              widespread damage or affects a substantial area. . . .
              g.     Water
              (1)    Any of the following, all whether naturally occurring or
                     due to man-made or other artificial causes:
                     (a)    Flood, surface water, waves (including
                            tidal wave and tsunami), tides, tidal water,
                            overflow of any body of water, or spray
                            from any of these, all whether driven by
                            wind (including storm surge) or not[.]

D. App. (ECF No. 66-1) at 39-40 (bold font omitted).

       In support of its motion, Travelers argues, inter alia, that “surface water” in the

insurance context has long been defined in Texas as water or natural precipitation diffused

over the surface of the ground until it either evaporates, is absorbed by the land, or reaches

channels where water naturally flows; that rainwater or storm water moving across the


                                            - 11 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 12 of 51 PageID 2766



surface of the ground and becoming trapped under the building falls within the definition of

“surface water”; that the water exclusion applies if surface water directly or indirectly caused

the damage and, in this case, SMM’s expert conceded that if the intrusion came from the

ground up, water would have “contributed to the damage,” D. Br. 17 (quoting D. App. (ECF

No. 66-1) at 732, 745); that under the Policy’s anti-concurrent causation clause, if the surface

water was a contributing cause of the mold and moisture damage, there is no coverage for

this damage regardless of any other cause or event that contributed to it; and that, in sum, the

evidence establishes that surface water at least partially caused and contributed to the mold

and moisture damage and even if other causes or events contributed concurrently or in any

sequence with the surface water, no coverage is afforded for the claim because of the water

exclusion and its anti-concurrent causation clause.

       Contending that the mold and water damage was caused by damage to the roof, not

by surface water, SMM responds that there is a genuine issue of material fact that precludes

application of the water exclusion. But SMM does not dispute that, if the damage was

caused by surface water under the building wicking up through the crawl space, Exclusion

B.1.g would apply. Nor does it contest that, if Travelers succeeds in proving that surface

water under the Building either caused or contributed to the mold and moisture damage at

issue, then Travelers “is exempt from liability for all damages caused directly or indirectly

by the excluded cause, i.e., [surface water], regardless of any other cause or event

contributing concurrently or in any sequence to the loss.”             Lexington Ins. Co. v.

Unity/Waterford-Fair Oaks, Ltd., 2002 WL 356756, at *4 (N.D. Tex. Mar. 5, 2002)

                                             - 12 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 13 of 51 PageID 2767



(Fitzwater, J.); see also JAW The Pointe, L.L.C., 460 S.W.3d at 608 (under policy with anti-

concurrent causation clause, “if the covered wind damage and the excluded flood damage

contributed to cause the [loss], then the policy excludes coverage.”). Accordingly, the court

holds as a matter of law that Exclusion B.1.g precludes coverage to the extent that Travelers

is able to prove at trial that surface water in the crawl space caused or contributed to the mold

and water damage that is the subject of SMM’s claim.

                                               B

       In the alternative, the court holds that the defective workmanship, construction, and

maintenance exclusion (“Exclusion B.4”) precludes coverage to the extent that Travelers can

prove at trial that the damage resulted from moisture coming from below the Building.

       Exclusion B.4 provides, in pertinent part:

              4. We will not pay for loss or damage caused by or resulting
              from faulty, inadequate or defective:
                      a.      Planning, zoning, development, surveying, siting;
                      b.      Design, specifications, workmanship, repair,
                              construction, renovation, remodeling, grading or
                              compaction;
                      c.      Materials used in repair, construction, renovation,
                              remodeling, grading or compaction; or
                      d.      Maintenance;
              of part or all of any property on or off the job site described in
              the Declarations.

D. App. (ECF No. 66-1) at 41.

       Travelers contends that, if the source of the water infiltration and mold in the walls

was humidity and moisture from the crawl space, the damage is also excluded from coverage

by the “defective workmanship, construction and maintenance exclusion.” D. Br. 19. It

                                             - 13 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22                Page 14 of 51 PageID 2768



maintains that Mackie testified that the moisture coming from below the Building resulted

from improper drainage and the lack of a moisture barrier; that a properly constructed

building pad would not have allowed water to pool under the Building and would have

included a vapor barrier, given these site conditions; that the moisture infiltration from under

the Building was the result of faulty, inadequate, or defective siting, design, workmanship,

construction, or grading; and that the defective construction exclusion therefore precludes

coverage for the moisture coming from the crawl space.

       SMM does not respond to this argument. Accordingly, the court holds in the

alternative that, to the extent that Travelers is able to prove at trial that moisture in the crawl

space caused or contributed to the mold and water damage that is the subject of SMM’s

claim, Exclusion B.4 would preclude coverage.

                                                C

       Travelers contends that Exclusion B.4 precludes coverage to the extent that water or

moisture infiltrated the Building through the roof. It maintains, inter alia, that there are three

potential sources of water infiltration through the roof—(1) penetrations through the roof

caused by subcontractors of AECOM stepping on sheet metal screws, (2) improper flashing

around ducting or vent penetrations through the roof, and (3) the roof matelines5—and that



       5
         Travelers argues that if water entered through the roof matelines, it was because of:
a failure by AECOM to properly maintain the matelines, construction-related foot traffic by
AECOM and its subcontractors without adequate roof protection and stepping on sheet metal
screws or dragging things across the matelines, or settlement of the building due to improper
site preparation.

                                              - 14 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 15 of 51 PageID 2769



all three sources of water infiltration, even if caused by work conducted at the direction of

AECOM, are excluded under Exclusion B.4; that to the extent the moisture intrusion came

through roof penetrations created by AECOM and its subcontractors, or because of

AECOM’s failure to maintain the matelines, or because of AECOM’s construction activities

on the roof that damaged the matelines, this damage was caused by faulty, inadequate, or

defective workmanship, repair, construction, or maintenance and is thus excluded under

Exclusion B.4; that the resulting or ensuing loss provision in Exclusion B.4 does not reinstate

coverage because the language in the exclusion requires that there be a separate cause of loss

that is itself a covered cause of loss, and rain infiltrating through the penetrations (even if a

separate event) would not result in coverage because interior damage due to rain is excluded

under the Policy; that to the extent damage to the roof matelines was caused by the

Building’s shifting or settling, the evidence shows that foundation movement was due to

improper site preparation, which constitutes defective construction and is excluded under the

Policy; that the Policy excludes coverage for damage caused by, or resulting from,

“[s]ettling, cracking, shrinking or expanding of walls, floors, ceilings, foundations, pilings,

patios, driveways or pavements,” D. App. (ECF No. 66-1) at 41, and damage to the matelines

due to settling would therefore be excluded under Exclusion 3.b.3; and that, to the extent

shifting or settling of the Building caused leaks at the matelines, coverage would be excluded

for any damage from such leakage.

       SMM argues in response that the Building’s roof was damaged as a result negligence:

foot traffic and contractors stepping on construction materials after the Building was

                                             - 15 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22           Page 16 of 51 PageID 2770



completely constructed. SMM does not dispute, however, that, to the extent moisture and

mold damage to the interior walls was caused by water infiltrating the Building through

improper flashing around ducting or vent penetrations through the roof, or through roof

matelines that were damaged as a result of the Building’s foundation shifting or settling,

coverage would be excluded under Exclusion B.4 or Exclusion 3.b.3.6 Accordingly, the

court holds that, to the extent Travelers is able to prove at trial that the mold and water

damage was caused, directly or indirectly, by water infiltrating the Building through

improper flashing around ducting or vent penetrations or through roof matelines that were

damaged as a result of the Building’s foundation shifting or settling, coverage is excluded

under Exclusion B.4 or Exclusion 3.b.3.

                                            V

      The court now turns to what appears to be the primary coverage dispute: whether the

Policy excludes coverage under Exclusion B.4 if, as SMM contends, the mold and moisture

damage resulted from water infiltrating the Building through penetrations through the roof



      6
       Exclusion 3.b.3 provides, in pertinent part:

             We will not pay for loss or damage caused by or resulting from
             any of the following. But if loss or damage by a Covered Cause
             of Loss results, we will pay for that resulting loss or damage. .
             ..
             b.     Other Types of Losses . . .
             (3)    Settling, cracking, shrinking or expanding of walls, floors, ceilings,
                    foundations, pilings, patios, driveways or pavements.

D. App. (ECF No. 66-1) at 41 (bold font omitted).

                                          - 16 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 17 of 51 PageID 2771



caused by foot traffic over nails, screws, and other construction materials scattered over the

surface of the roof after construction of the Building was complete.

                                              A

       As stated above, Exclusion B.4 provides, in pertinent part:

              4. We will not pay for loss or damage caused by or resulting
              from faulty, inadequate or defective: . . .
              b.      Design, specifications, workmanship, repair,
                      construction, renovation, remodeling, grading or
                      compaction; [or] . . .
              d.      Maintenance;
              of part or all of any property on or off the job site described in
              the Declarations.

              If an excluded cause of loss listed in Paragraph 4.a through 4.d
              above, results in a Covered Cause of Loss, we will pay for the
              resulting loss or damage caused by that Covered Cause of Loss.
              But we will not pay for:
              (1)     Any cost of correcting or making good the fault,
                      inadequacy or defect itself, including any cost incurred
                      to tear down, tear out, repair or replace any part of any
                      property to correct the fault, inadequacy or defect; or
              (2)     Any resulting loss or damage to the property that has the
                      fault, inadequacy or defect until the fault, inadequacy or
                      defect is corrected.

D. App. (ECF No. 66-1) at 41.

                                              B

       To understand how Exclusion B.4 applies in this case, it is helpful to review how

courts have historically interpreted “faulty workmanship” exclusions in the context of losses

caused by negligence during the construction process.

       U.S. Industries, Inc. v. Aetna Casualty & Surety Co., 690 F.2d 459 (5th Cir. 1982),


                                            - 17 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22                Page 18 of 51 PageID 2772



a Fifth Circuit decision, involved a policy that, like the Policy here, protected against “all

risks of physical loss or damage” to the covered property, but the policy excluded, inter alia,

loss or damage “caused by or resulting from . . . faulty workmanship.” Id. at 460. The

insured sought to recover the cost of replacing a giant steel tower that became deformed

during construction as a result of “misjudgments and even negligence on the part of [the

insured]’s employees.” Id. at 461. The district court denied coverage, holding that the

damage was excluded under the faulty workmanship exclusion, and the Fifth Circuit

affirmed.

       The Fifth Circuit began by examining “the meaning and apparent intent of the ‘faulty

workmanship’ exclusion in a builder’s all risks policy.” Id. at 462.

              A defect in workmanship is a defect in the way some part of the
              (insured property) is constructed[.] [T]he clause excludes
              coverage for damages resulting from defects in the product
              caused by faults in the construction process. . . . It is the quality
              of the product which is excluded from coverage, and not damage
              to the product caused by negligence during the construction
              process.

Id. (internal quotation marks and citations omitted). The panel then noted that

              fortuitous damage to construction property extraneous to the
              construction of the product itself (here, the tower), occasioned
              by negligence of the insured’s employees, is not excluded from
              coverage by the “faulty workmanship” clause in an all risks
              policy—such as, for example, if one of the insured’s employees
              negligently ran a truck into the tower under construction and
              caused it to turn over.

Id. But because “the defective workmanship in the stress-relieving process (whether due to

negligence, inadvertence, misjudgment, or whatnot) that caused the tower to become

                                             - 18 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 19 of 51 PageID 2773



deformed . . . occurred during and before the completion of the tower as an integral part of

the (faulty) workmanship in its construction,” the panel held that the exclusion applied. Id. at

462-63.

       In Alton Ochsner Medical Foundation v. Allendale Mutual Insurance Co., 219 F.3d

501 (5th Cir. 2000), the Fifth Circuit relied again on the distinction between “the quality of

the product” and “damage to the product” to determine whether the “faulty workmanship”

exclusion in a builder’s all-risk policy applied. Id. at 506. At issue, inter alia, was a dispute

over whether cracks in the building’s pile caps were excluded from coverage. The district

court granted summary judgment in favor of the insurer, concluding that the loss fell within

the policy’s exclusion for “faulty workmanship, material, construction, or design from any

cause.” Id. at 504. The Fifth Circuit affirmed. Relying largely on the reasoning of U.S.

Industries, it explained:

              [i]t is the quality of the product which is excluded from
              coverage, and not damage to the product caused by negligence
              during the construction process. For example, we noted [in U.S.
              Industries] that if one of the insured’s employees ran a truck into
              the tower during construction, knocking it over, that damage
              clearly would be covered by the policy. Such an accident would
              not bear directly on the quality of the product (the tower) but
              would cause damage to it. By contrast, the wrinkling of the
              metal skin of the tower as a result of excessive heating damaged
              the quality of the product itself. Likewise, in the instant case,
              the cracking of the pile caps is damage to the quality of the
              product itself; the cracking did not cause damage to the product.




                                             - 19 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 20 of 51 PageID 2774



Id. at 506 (first alteration in original) (footnotes and internal quotation marks omitted).7

       Courts in other jurisdictions have similarly held that “faulty workmanship” exclusions

in builder’s all risk policies do not exclude claims for accidental damage to covered property

caused by the builder’s negligence during construction. See, e.g., 1765 First Assocs., LLC

v. Cont’l Cas. Co., 817 F.Supp.2d 374, 376 (S.D.N.Y. 2011) (“[T]he Faulty Workmanship

Exclusion applies only to losses attributable to the quality of the constructed property and

arising from defects in the materials or process used by the insured or its agents to construct

the property, [and] does not exclude losses incurred during construction associated with” the

collapse of a crane that was being used at the construction site.); City of Burlington v.

Hartford Steam Boiler Inspection & Ins. Co., 190 F.Supp.2d 663, 672 (D. Vt. 2002) (“[T]he

term ‘faulty workmanship’ . . . encompasses ‘quality of product’ claims (whether due to

defective materials or faults during the construction process) and not claims for accidental

damage to the product caused by the builder’s negligence during construction[.]” (citation



       7
         In Axis Surplus Insurance Co. v. Mercer, 2021 WL 6135324 (N.D. Tex. Dec. 29,
2021) (Scholer, J.), Judge Scholer recently reached a similar conclusion. There, the insured
property was damaged when roofers who had been hired to replace the roof inadequately
secured tarps over open areas and an overnight rainstorm caused water damage to the
property’s interior. Judge Scholer held that the water damage was excluded under several
policy provisions, including the exclusion for “[f]aulty, inadequate or defective . . .
workmanship.” Id. at *3. She noted that “the meaning of faulty workmanship . . .
encompasses defects in the process of construction, not just a defect in the final product
itself,” and held that because “the damage occurred as roofers removed the roofs to replace
them,” and because “[t]he removal of existing roofs is certainly an integral part of replacing
a roof, as is waterproofing during construction,” the “faulty workmanship” exclusion applied.
Id. at *4.


                                            - 20 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 21 of 51 PageID 2775



omitted)); City of Barre v. N.H. Ins. Co., 396 A.2d 121, 122-23 (Vt. 1978) (holding that

damage that incurred when wooden arches blew down in a strong wind as a “result of

misjudgment of the amount of temporary cable support needed” was not within exclusion for

“loss caused directly or indirectly by faulty materials or faulty workmanship or error in

design or latent defect” because “both the wind and the defective and insufficient guy cable

were certainly external to the structure insured,” and that “[i]t is the quality of the product

which is excluded from coverage, and not damage to the product caused by negligence

during the construction period”).

       Courts also appear to generally agree that faulty workmanship clauses do not exclude

claims for damages caused by post-construction subcontractor negligence unrelated to the

quality of any product or process. See, e.g., Lloyd’s Acceptance Corp. v. Affiliated FM Ins.

Co., 2013 WL 5101938, at *4-5 (E.D. Mo. Sept. 12, 2013) (holding that policy exclusion for

“[d]efects in materials, faulty workmanship, faulty construction or faulty design” applies only

to “construction defects and does not apply to the negligent repair or maintenance of

completed projects.”); Federated Dep’t Stores, Inc. v. M.J. Clark, Inc., 2007 WL 2088581,

at *5 (N.D. Ill. July 17, 2007) (“The plain language of the exclusion for ‘[e]rrors in design,

faulty workmanship or use of faulty materials . . .’ is that the policy excludes damages caused

by faulty materials or faulty installation of the pipes, rather than subcontractor negligence in

the repair or maintenance of the pipe.” (ellipsis in original)); Otis Elevator Co. v. Factory

Mut. Ins. Co., 353 F.Supp.2d 274, 281 (D. Conn. 2005) (holding that “faulty workmanship”

exclusion did not apply to damage caused by subcontractor negligence in testing tram

                                             - 21 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 22 of 51 PageID 2776



because “[t]he accidental property damage to the tram . . . is simply accidental damage

resulting from subcontractor negligence unrelated to the quality of any product or process.”).

       In sum, as the Fifth Circuit observed in Alton Ochsner Medical Foundation, “[a]ll-risk

insurance policies generally are viewed as limiting recovery to those losses in which the

cause is ‘external to the structure insured,’ as opposed to an ‘internal’ or ‘inherent’ defect in

the item of property which is damaged.” Alton Ochsner Med. Found., 219 F.3d at 507

(citation and some internal quotation marks omitted).

                                                C

       Based on the summary judgment record, the court holds that a reasonable jury could

find that the cause of the loss was external to both the Building itself and to the process of

constructing, maintaining, or repairing it.

       A reasonable jury could find that the damage that is the subject of SMM’s claim (i.e.,

the moisture and mold damage) was caused by the post-construction negligence of trades and

workers stepping on construction materials scattered over on the roof. For example,8 Welch

testified at his deposition that, by the time the Building was finished and was turned over to

the customer, the roof was “nice, clean, [and in] good shape.” P. App. (ECF No. 70-1) at 78.

He opined that



       8
         “When this court denies rather than grants summary judgment, it typically does not
set out in detail the evidence that creates a genuine issue of material fact.” Valcho v. Dall.
Cnty. Hosp. Dist., 658 F.Supp.2d 802, 812 n.8 (N.D. Tex. 2009) (Fitzwater, C.J.) (citing
Swicegood v. Med. Protective Co., 2003 WL 22234928, at *17 n.25 (N.D. Tex. Sept. 19,
2003) (Fitzwater, J.)).

                                              - 22 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 23 of 51 PageID 2777



              [t]he water [in]trusion . . . appeared to be caused by abundance
              of nails, screws, and other construction materials scattered over
              the surface of the roof coupled with excessive foot traffic. As
              time progressed, foot traffic caused the nails and screws to
              penetrate the surface of the roof and disrupted the mate lines,
              thus resulting in water intrusion through the roof.

Id. at 80.

       A reasonable jury might also find from the summary judgment evidence that the “foot

traffic” that over time caused the nails and screws to penetrate the surface of the roof was

“external” or “extraneous” to the process of constructing, maintaining, or repairing the

Building. This is because it is unclear from the record whose “foot traffic” damaged the roof,

why there were construction materials scattered over the roof, or why various trades and

workers were on the roof. For example, Welch testified that “just anybody” could have

caused the damage to the Building’s roof

              if they were going on the roof all the time, like the military
              people—you know, people I didn’t know, but they would go up
              there all the time, so I don’t know. And like I said, if they’re not
              aware of rubber roofs, especially mate lines, and they had
              anything that you may not be—be able to feel on your foot,
              you’re just going to—just hole it up, and then they never even
              be the wiser, you know.

Id. at 75.

       Travelers contends that, “to the extent moisture intrusion came through roof

penetrations created by AECOM and its subcontractors, or AECOM’s failure to maintain the

matelines, or AECOM’s construction activities on the roof that damaged the matelines, that

damage was caused by faulty, inadequate or defective workmanship, repair, construction or


                                             - 23 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 24 of 51 PageID 2778



maintenance.” D. Br. 22. But Travelers does not present any evidence, and thus has not

established beyond peradventure, that the trades and workers who allegedly caused the

damage to the Building’s roof were completing tasks related to the building’s construction,

maintenance, or repair. While it is certainly possible that a reasonable jury could find that

the damage to the roof was caused by “faulty, inadequate or defective workmanship, repair,

construction or maintenance,” it is also possible that a reasonable jury could find that the

“foot traffic” on the roof was external or extraneous to any repair, construction, or

maintenance of the Building.9

       Travelers concedes in its reply that “[o]ther negligence that causes damage, that is not

part of the process of repair, construction or maintenance of the subject property, would not

be excluded” under Exclusion B.4. D. Reply 5 (emphasis added). Because it is possible that

the Building’s roof was damaged by foot traffic unrelated to the process of constructing,

maintaining, or repairing the Building, Travelers has not established beyond peradventure


       9
         The two cases on which Travelers relies, BSI Constructors, Inc. v. Hartford Fire
Insurance Co., 705 F.3d 330 (8th Cir. 2013), and L.F. Driscoll Co. v. American Protection
Insurance Co., 930 F. Supp. 184 (E.D. Pa. 1996), are not binding on this court, and, even if
they were, they are distinguishable on their facts. In BSI Constructors there was evidence
that “the subcontractors acted negligently while completing tasks directly related to the
building’s construction.” BSI Constructors, Inc., 705 F.3d at 333 (emphasis added).
Similarly, in L.F. Driscoll the parties agreed “that the negligence of the subcontractors
during construction of the Research Center caused damage to the roofs.” id. at 187; see also
id. at 188 (“As with the damage stemming from the faulty post-welding heat treatment in
U.S. Industries, the damage to the roofs in this case occurred before the Research Center had
been completed and thus constitutes ‘workmanship.’”). Here, Travelers has not presented
any evidence, and thus has not established beyond peradventure, that the trades and workers
who allegedly caused the damage to the Building’s roof were completing tasks directly
related to the Building’s construction, maintenance, or repair.

                                            - 24 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 25 of 51 PageID 2779



that the loss was caused by an “internal” or “inherent” defect in the roof of the Building or

the process by which the Building was constructed, maintained, or repaired. See Alton

Ochsner Med. Found., 219 F.3d at 507. The court therefore denies Travelers’ motion for

summary judgment on SMM’s breach of contract claim to the extent it is based on the ground

that the Policy coverage is excluded under Exclusion B.4. See, e.g., Engineered Structures,

Inc. v. Travelers Prop. Cas. Co., 822 Fed. Appx. 606, 609 (9th Cir. 2020) (mem.) (reversing

and remanding case where “[f]urther proceedings [were] necessary to resolve whether

[plaintiff]’s losses were, in fact, ‘caused by or result[ed] from faulty, inadequate or defective

. . . construction,’ thus making the Exclusion applicable.” (some alterations in original)).10

                                               D

       Travelers also maintains that the damage at issue is excluded under Exclusion B.2.e,

which excludes loss or damage caused directly or indirectly by “[r]ain . . . unless: (a) The

building or structure first sustains damage by a Covered Cause of Loss to . . . [i]ts completed

exterior facing roof or walls.” D. (ECF No. 66-1) at App. 41. Travelers contends that there

was no damage to the roof as a result of a “Covered Cause of Loss, through which the rain

entered,” because “any ‘damage’ to the roof constitutes excluded faulty workmanship,

construction and maintenance or was the result of settling that disrupted the matelines.” D.

Br. 23. The court declines to grant summary judgment on this basis.

       Because the court is denying Travelers’ motion for summary judgment on the ground


       10
        The court suggests no view on whether Travelers will be able to prove at trial that
Exclusion B.4 bars coverage. This question will turn on the jury verdict.

                                             - 25 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 26 of 51 PageID 2780



that any damage to the roof is excluded under Exclusion B.4, it cannot conclude, as a matter

of law, that the damage to the roof through which the rain entered was not caused by a

“Covered Cause of Loss.” Accordingly, the court denies Travelers’ motion for summary

judgment on this ground.

                                              VI

        The court now turns to Travelers’ contention that it is entitled to summary judgment

on SMM’s breach of contract claim based on Exclusion B.1.b, the fungus exclusion.

                                              A

        It is undisputed that the loss that is the subject of SMM’s insurance claim was caused,

in part, by “fungus,” as that term is defined in the Policy.11 Under Exclusion B.1.b, the

Policy excludes from coverage “loss or damage caused directly or indirectly by . . .

[p]resence, growth, proliferation, spread or any activity of ‘fungus’, wet rot or dry rot.” D.

App. (ECF No. 66-1) at 39. This exclusion does not apply, however, “[t]o the extent that

coverage is provided in the ‘Fungus’, Wet Rot And Dry Rot Additional Coverage.” Id. In

Paragraph A.5.f, under the heading “Additional Coverages,” the Policy provides, in pertinent

part:




        11
        The Policy defines “Fungus” to mean “any type or form of fungus, including mold
or mildew, and any mycotoxins, spores, scents or by-products produced or released by
fungi.” D. App. (ECF No. 66-1) at 48.

                                             - 26 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 27 of 51 PageID 2781



              f. “Fungus”, Wet Rot And Dry Rot

              (1)    We will pay for direct physical loss of or damage
                     to Covered Property caused by “fungus”, wet rot
                     or dry rot, but only when the “fungus”, wet rot or
                     dry rot is the result of any of the “specified causes
                     of loss”, other than fire or lightning, that occurs
                     during the policy period and only if all reasonable
                     means were used to save and preserve the
                     Covered Property from further damage at the time
                     of and after the occurrence of any such cause of
                     loss.

D. App. (ECF No. 66-1) at 35 (bold font omitted). Relevant to SMM’s claim under the

Policy, the phrase “specified causes of loss” is defined to include “water damage,”12 and the

term “Water damage” is defined to mean, inter alia:

              Accidental discharge or leakage of water or steam as the direct
              result of the breaking apart or cracking of a plumbing, heating,
              air conditioning or other system or appliance (other than a sump
              system including its related equipment and parts) that is located
              on the applicable job site described in the Declarations and
              contains water or steam[.]

Id. at 49.



       12
         The Policy defines “Specified causes of loss” to mean:

              fire; lightning; explosion; windstorm or hail; smoke (including
              the emission or puff back of smoke, soot, fumes or vapors from
              a boiler, furnace or related equipment); aircraft or vehicles; riot
              or civil commotion; vandalism; leakage from fire extinguishing
              equipment; “sinkhole collapse”; volcanic action, falling objects
              as limited below; weight of snow, ice or sleet; “water damage”;
              all only as otherwise insured against in this Coverage Part.

D. App. (ECF No. 66-1) at 49.

                                            - 27 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 28 of 51 PageID 2782



                                               B

       Travelers maintains that it is entitled to summary judgment because the damage at

issue was caused in part by mold, so the fungus exclusion (i.e., Exclusion B.1.b) precludes

coverage. According to Travelers, although certain coverage for damage caused by fungus

or mold is added back to the Policy in Paragraph A.5, this additional coverage applies only

if the fungus is the result of any of the “specified causes of loss”; that SMM’s argument that

the mold was the result of the “specified cause[] of loss” of “water damage” relies on “an

enormously tortured interpretation” of the “water damage” provision, D. Br. 25; and that

when the entirety of the definition of “water damage” is considered, including the specific

types of systems referenced therein, it is clear that the definition applies when a system holds

water, such as occurs in a plumbing system, not something that restrains or holds back water

like a roof or a wall.13

       SMM responds that the question for the court is whether the roof of the Building is

a “system” that “contains water or steam”; that the word “contain” is not defined in the

Policy; that a dictionary has defined “contain” to mean “restrain,” “control,” “check” and



       13
          Travelers also posits that, to the extent SMM relies on an incident in May 2017
involving a finish nail from the drywall that punctured a pipe and caused a leak, SMM never
submitted a claim to Travelers regarding this nail-created leak; SMM testified that it did not
know whether any water from that event would have contributed to the microbial growth
identified in September 2017; and that, in any event, driving a nail into a plumbing pipe
while installing drywall would constitute faulty, inadequate, or defective construction, which
is excluded from coverage under Exclusion B.4. SMM does not respond to this argument,
and does not appear to contend that the May 2017 incident caused the damage at issue in this
litigation.

                                             - 28 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 29 of 51 PageID 2783



“halt,”; that the roof of the Building undeniably restrained water from penetrating the interior

of the Building; that the roof is therefore a “system” that “contains” water within the

definition of “water damage”; and that, at the very least, SMM’s interpretation of “contain”

is reasonable, and therefore, the definition of “water damage” is ambiguous. P. Br. 35.

                                               C

       Texas courts interpret insurance policies according to the rules of contract

interpretation. See Int’l Ins. Co. v. RSR Corp., 426 F.3d 281, 291 (5th Cir. 2005) (citing

Kelley-Coppedge, Inc. v. Highlands Ins. Co., 980 S.W.2d 462, 464 (Tex. 1998)); Forbau v.

Aetna Life Ins. Co., 876 S.W.2d 132, 133 (Tex. 1994) (“Interpretation of insurance contracts

in Texas is governed by the same rules as the interpretation of other contracts.”). When a

“contract is worded so that it can be given a definite meaning, it is unambiguous and a judge

must construe it as a matter of law.” Int’l Ins., 426 F.3d at 291; see also Nat’l Union Fire

Ins. Co. of Pittsburgh, Pa. v. Hudson Energy Co., 811 S.W.2d 552, 555 (Tex. 1991). “In

applying these rules, a court’s primary concern is to ascertain the parties’ intent as expressed

in the language of the policy.” Int’l Ins., 426 F.3d at 291; see also Forbau, 876 S.W.2d at

133 (“[T]he court’s primary concern is to give effect to the written expression of the parties’

intent.” (citations omitted)). The court must give effect to all of a policy’s provisions so that

none is rendered meaningless. Int’l Ins., 426 F.3d at 291. “Whether an insurance contract

is ambiguous is a question of law for the court to decide by looking at the contract as a whole

in light of the circumstances present when the contract was entered.”                Id. (citing

Kelley-Coppedge, 980 S.W.2d at 464). “If an insurance contract uses unambiguous

                                             - 29 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 30 of 51 PageID 2784



language, [the court] must enforce it as written. If, however, a contract is susceptible to more

than one reasonable interpretation, [the court] will resolve any ambiguity in favor of

coverage.” Don’s Bldg. Supply, Inc. v. OneBeacon Ins. Co., 267 S.W.3d 20, 23 (Tex. 2008)

(footnotes omitted); see also Nat’l Union Fire Ins. Co., 811 S.W.2d at 555.

                                               D

       The court holds as a matter of law that the roof of the Building is not a “system” that

“contains” water, as used in the Policy’s definition of “water damage.” The Policy defines

“Water damage” to mean, inter alia:

              Accidental discharge or leakage of water or steam as the direct
              result of the breaking apart or cracking of a plumbing, heating,
              air conditioning or other system or appliance (other than a sump
              system including its related equipment and parts) that is located
              on the applicable job site described in the Declarations and
              contains water or steam[.]

D. App. (ECF No. 66-1) at 49. SMM principally maintains that, because the dictionary

definition of the word “contain” includes terms such as “restrain,” “control,” “check,” and

“halt,” and because the roof of the Building restrained water from penetrating the interior of

the Building, the roof of the Building must therefore be a “system” that “contains” water,

within the definition of “water damage.” The court disagrees.

       The term “contain” is not defined in the Policy. “As with any other contract, [the

court] determine[s] the meaning of an undefined term as used in an insurance policy by

applying its ‘ordinary and generally accepted meaning,’ as construed ‘in context and in light

of the rules of grammar and common usage.’” Pharr-San Juan-Alamo Indep. Sch. Dist. v.


                                             - 30 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 31 of 51 PageID 2785



Tex. Pol. Subdivisions Prop./Cas. Joint Self Ins. Fund, 642 S.W.3d 466, 473-74 (Tex. 2022)

(citations omitted). “To determine a term’s common, ordinary meaning, [Texas courts]

typically look first to dictionary definitions and then consider the term’s usage in other

authorities.” Anadarko Petroleum Corp. v. Hous. Cas. Co., 573 S.W.3d 187, 192 (Tex.

2019) (citing Tex. State Bd. of Exam’rs of Marriage & Family Therapists v. Tex. Med. Ass’n,

511 S.W.3d 28, 35 (Tex. 2017)). Importantly, Texas courts do not “simply stop at the

dictionary definitions. . . . [C]ontext matters.” Id. at 193. The court “cannot isolate any

word, phrase, sentence, or section from its setting and construe it without considering its

context.” Id. (citing Forbau, 876 S.W.2d at 134).

       SMM relies entirely on the online Merriam-Webster Dictionary definition of

“contain” to argue that this term, as used in the Policy, means anything that restrains. But

SMM disregards the secondary definition in this source, which is “to have within” or “hold.”

See     contain      definition,        Merriam-Webster.com,                available        at

https://www.merriam-webster.com/dictionary/contain (last visited June 13, 2022). It is this

secondary definition that logically applies when the word “contains” is considered in context.

       The Policy definition of “water damage” is limited to the accidental discharge or

leakage of water or steam as the result of the breaking apart or cracking of three specifically-

enumerated items (i.e., a “plumbing, heating, [or] air conditioning” system or appliance), and

the catchall, “other system or appliance . . . that . . . contains water or steam.” D. App. (ECF

No. 66-1) at 49. “Generally, a catchall phrase should be read in light of the preceding list,

an interpretive maxim known as ejusdem generis (‘of the same kind’).” Silguero v. CSL

                                             - 31 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 32 of 51 PageID 2786



Plasma, Inc., 907 F.3d 323, 329 (5th Cir. 2018) (citing Norfolk & W. Ry. Co. v. Am. Train

Dispatchers’ Ass’n, 499 U.S. 117, 129 (1991)); see also United States v. Clark, 990 F.3d

404, 408 (5th Cir. 2021) (“When confronted with a list of specific terms that ends with a

catchall phrase, courts should often limit the catchall phrase to ‘things of the same general

kind or class specifically mentioned.’” (citation omitted)). Here, the items specifically

mentioned all hold water or steam within their parts and are designed to use water or steam

in their operation. Under traditional rules of contract interpretation, the catchall phrase

“other system or appliance . . . that . . . contains water or steam” should be similarly limited.

A “roof system” does not hold water or steam within its parts, but, instead, “serves to exclude

water.” Feenix Parkside LLC v. Berkley N. Pac., 438 P.3d 597, 606 (Wash. App. 2019).

       At least two courts interpreting identical policy language have held that the definition

of “water damage” does not apply to the leakage of water through cracks in a roof. See id.

(“A ‘roof system’ is not the equivalent of a plumbing, heating, or air conditioning system,

because those systems are all designed to use water or steam in their operation, while a roof

system serves to exclude water. Feenix’s argument violates the rule of ejusdem generis and

its offered definition of ‘system’ fails.”); Albrite Carpets, Inc. v. Travelers Prop. Cas. Co.

of Am., 2010 WL 3749457, at *2 (D. Mass. Sept. 22, 2010) (“Plaintiff appears to ask the

Court to find that the water that leaked through the roof falls within that definition of ‘water

damage.’ A roof is not a ‘system’ or ‘appliance’ and does not ‘contain’ water or steam, and

therefore leakage of water through cracks in the roof is not a ‘specified cause of loss.’”). The

court is persuaded by the reasoning in these decisions, and holds as a matter of law that the

                                             - 32 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 33 of 51 PageID 2787



mold at issue cannot have been caused by “water damage,” as that term is defined in the

Policy.

       SMM does not contend that any other “specified cause of loss” caused the mold at

issue in this case. Accordingly, the court concludes that, to the extent that Travelers

establishes at trial that the damage, or some portion of the damage, was caused by “mold,”

coverage for that damage is excluded under Exclusion B.1.b.14

                                            VII

       Travelers contends that, even if some portion of the mold and moisture damage in the

Building was caused by a Covered Cause of Loss, SMM has failed to meet its burden of

segregating covered and non-covered loss.

                                             A

       Although an insured who suffers damage from both covered and excluded perils is not

precluded from recovering, “[w]hen covered and excluded perils combine to cause an injury,

the insured must present some evidence affording the jury a reasonable basis on which to

allocate the damage.” Lyons v. Millers Cas. Ins. Co. of Tex., 866 S.W.2d 597, 601 (Tex.

1993). Because an insured can only recover for covered events, the burden of segregating

the damage attributable solely to the covered event is a coverage issue for which the insured

carries the burden of proof. See Wallis v. United Servs. Auto. Ass’n, 2 S.W.3d 300, 303 (Tex.

App. 1999, pet. denied). “It is essential that the insured produce evidence which will afford


       14
        Coverage for damage to the Building caused exclusively by water, however, is not
necessarily excluded under Exclusion B.1.b.

                                            - 33 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 34 of 51 PageID 2788



a reasonable basis for estimating the amount of damage or the proportionate part of damage

caused by a risk covered by the insurance policy.” Travelers Indem. Co. v. McKillip, 469

S.W.2d 160, 163 (Tex. 1971) (citation omitted). “[F]ailure to segregate covered and

noncovered perils is fatal to recovery.” Comsys Info. Tech. Servs., Inc. v. Twin City Fire Ins.

Co., 130 S.W.3d 181, 198 (Tex. App. 2003, pet. denied); see also Dall. Nat’l Ins. Co. v.

Calitex Corp., 458 S.W.3d 210, 227 (Tex. App. 2015, no pet.) (holding there was no

reasonable basis for estimating amount of damage caused by risk covered by the insurance

policy).

                                              B

       Travelers moves for summary judgment on the ground that, even if some portion of

the moisture damage was caused by a covered cause of loss, SMM cannot meet its burden

of segregating between covered and non-covered loss. Travelers posits that SMM’s CEO

(Mackie) has opined that any moisture intrusion from punctures or penetrations in the roof

was de minimis and that damage from moisture intrusion, such as damage to ceiling tiles, did

not form the basis of the insurance claim; that SMM’s site superintendent (Welch) opined

that 80% of the damage inside the Building was caused by water coming from the roof [D.

Br. 27]; that Welch testified that water damage along the Building’s exterior would have

been caused by improperly-installed caulking or window trim, and that he could not exclude

that some portion of the water damage to the interior of the Building had come from loose

laps in the matelines that may have been caused by improper installation; that Welch

acknowledged that if there was a combination of moisture from under the Building and from

                                            - 34 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 35 of 51 PageID 2789



the roof that caused the mold and moisture damage in the walls, he would not be able to

distinguish between the two; that SMM’s insurance expert concluded that the damage was

the result of a combination of water coming from the roof and water coming from under the

Building, and testified that moisture coming from under the Building would not have been

covered because lack of a moisture barrier was defective construction and because surface

water contributed to the non-covered part of the loss; and that SMM’s insurance expert also

testified that no allocation of what portion of the damage was coming from penetrations in

the roof (which he contends are covered) versus what was coming from under the bBuilding,

which would not be covered, was ever made.

       SMM responds that Welch actually testified that, although improper installation could

lead to “loose laps” in matelines, with respect to the loose laps he actually observed on the

roof, he observed visible “drag marks” damaging the matelines, P. Br. 35; that Welch

testified that 80% of the interior damage, specifically down the central corridor of the

Building, was exclusively caused by damage to the roof; that Welch was able to segregate

the remaining 20% to the exterior walls of the building, which were not damaged from

rainwater penetrating external cuts and holes; that Welch even produced a color-coded

diagram with his expert report that clearly delineates between the covered and non-covered

losses; and that through Welch’s testimony, SMM has easily satisfied its burden to produce

evidence that will afford a reasonable basis for estimating the amount of damage or the

proportionate part of damage caused by a risk covered by the Policy.

       Travelers replies, inter alia, that, even assuming that all of the mold and moisture

                                           - 35 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 36 of 51 PageID 2790



damage came from the roof, as SMM alleges, SMM has not segregated between covered and

non-covered moisture intrusion from the roof; has not segregated from any other cause the

water intrusion from construction-related damage to the roof; and has not pointed to any

other cause of the damage to the roof that allegedly allowed water to infiltrate.

                                              C

       Under the Texas common law doctrine of concurrent causation, plaintiffs are not

required “to establish the amount of covered loss with absolute mathematical precision.”

Fiess v. State Farm Lloyds, 392 F.3d 802, 808 n.24 (5th Cir. 2004). “Rather, the only

requirement that has been propounded with any regularity is that of setting forth some

reasonable basis for allocating damage between covered and non-covered events.” Id. In

Fiess, for example, the panel held that the plaintiff could segregate mold damages from two

causes—a covered pipe leak and a non-covered natural flood—because the water level of the

covered pipe leak was higher. The jury could therefore reasonably infer “that the mold

contamination located above the maximum height reached by the [non-covered] flood waters

is attributable to a covered loss.” Id.

       The same is true here. SMM points to damage to the interior central corridor of the

Building, which a reasonable jury could find appears to be different from damage to the

exterior walls. And because SMM posits that all of the damage to the interior central

corridor was caused when rainwater penetrated external cuts and holes in the roof that were

unrelated to the quality or process of constructing the roof of the Building, Travelers is not

entitled to summary judgment on the basis that SMM has failed to segregate its covered

                                            - 36 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 37 of 51 PageID 2791



losses.15

                                            VIII

       The court now turns to Travelers’ motion for summary judgment on SMM’s claims

under the Texas Insurance Code.

                                             A

       The court begins with its SMM’s claim that Travelers violated Tex. Ins. Code Ann.

§ 541.060(a)(7). Section 541.060(a)(7) of the Texas Insurance Code prohibits an insurer

from “refusing to pay a claim without conducting a reasonable investigation with respect to

the claim.” Tex. Ins. Code Ann. § 541.060(a)(7). Travelers maintains that it is entitled to

summary judgment on SMM’s § 541.060(a)(7) claim on the basis that its coverage denial

was correct, or, alternatively, on the ground that it had a reasonable basis to deny coverage

based on the information provided by SMM and Vertex during the claims adjusting process.

       SMM responds that a reasonable jury could find that Travelers acted in bad faith

based on evidence undermining the First Vertex Report and suggesting a lack of objectivity.

SMM cites evidence that Floyd (who worked for Vertex, a third party consulting firm whom

Travelers retained) believed that his investigation was “precursory”; thought that a more


       15
         The court concludes above that, to the extent damage to the Building was caused
directly or indirectly by mold, that damage is excluded under Exclusion B.1.b. See supra §
VI (D). At trial, SMM will be required to segregate damage caused by mold, which the court
now holds is excluded under the Policy, from damage caused by a Covered Cause of Loss.
Because Travelers does not move for summary judgment on the basis that SMM has failed
to segregate damage caused by mold from damage caused by water, the court does not
consider whether this “failure to segregate covered and noncovered perils is fatal to
recovery.” Comsys Info. Tech. Servs., Inc., 130 S.W.3d at 198.

                                           - 37 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 38 of 51 PageID 2792



thorough investigation would follow; was surprised to learn that there was no subsequent

investigation; did not draft the conclusions in the First Vertex Report; and disagreed with the

accuracy of the statement that “Vertex did not observe evidence indicating that the reported

excessive moisture and microbial growth was attributable to roof leaks,” P. Br. 39 (citing P.

App. (ECF No. 70-1) at 113). SMM also relies on evidence that Stephen S. Collins, SMM’s

retained expert on claims handling practices, testified that the VeriClaim photographs clearly

conflicted with the First Vertex Report and that McClure should have tried to resolve the

conflict before denying coverage; that Travelers’ claim notes indicate that, even before

Vertex was retained to investigate the loss, Travelers had predetermined that it would deny

coverage; and that the evidence shows that McClure influenced the wording of the First

Vertex Report, including the observation that there was no evidence that the moisture

intrusion in the Building was attributable to roof leaks.

       Travelers replies that the question whether it was reasonable for Travelers to rely on

the First Veritex Report is not relevant to the summary judgment analysis. This is so,

Travelers maintains, because the basis for Travelers’ motion is that SMM cannot establish

bad faith, which is a requirement for a § 541.060(a)(7) claim, given that there was a bona fide

dispute about coverage, regardless of the alleged cause of the water infiltration.

                                              B

       “Texas courts have clearly ruled that . . . extra-contractual tort claims [brought under

the Texas Insurance Code] require the same predicate for recovery as bad faith causes of

action in Texas.” Hall Arts Ctr. Office, LLC v. Hanover Ins. Co., 327 F.Supp.3d 979, 999

                                            - 38 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22                Page 39 of 51 PageID 2793



(N.D. Tex. 2018) (Fitzwater, J.) (citing Higginbotham v. State Farm Mut. Auto. Ins. Co., 103

F.3d 456, 460 (5th Cir. 1997)). But “[e]vidence that merely shows a bona fide dispute about

the insurer’s liability on the contract does not rise to the level of bad faith.” Transp. Ins. Co.

v. Moriel, 879 S.W.2d 10, 17 (Tex. 1994). “[A]n insurer will not be faced with a tort suit for

challenging a claim of coverage if there was any reasonable basis for denial of that

coverage.” Higginbotham, 103 F.3d at 460 (citing Emmert v. Progressive Cnty. Mut. Ins.

Co., 882 S.W.2d 32, 36 (Tex. App. 1994, writ denied)); see also id. at 459 (“As long as the

insurer has a reasonable basis to deny or delay payment of a claim, even if that basis is

eventually determined by the fact finder to be erroneous, the insurer is not liable for the tort

of bad faith.” (citing Lyons v. Millers Cas. Ins. Co., 866 S.W.2d 597, 600 (Tex. 1993))).

“However, relying solely on an expert’s report will not shield the insurer from bad faith

liability ‘if there is evidence that the report was not objectively prepared or the insurer’s

reliance on the report was unreasonable.’” Torres v. Lloyd’s of London Syndicate No. 4242,

2011 WL 6257144, at *7 (S.D. Tex. Dec. 14, 2011) (quoting State Farm Lloyds v. Nicolau,

951 S.W.2d 444, 448 (Tex. 1997)). In determining the reasonableness of an insurer’s

decision, a court reviews the facts that were available to the insurer at the time of denial.

Viles v. Sec. Nat’l Ins. Co., 788 S.W.2d 566, 567 (Tex. 1990).

                                                C

       A reasonable jury could find that it was unreasonable for Travelers to rely on the First

Vertex Report to initially deny SMM’s claim, given the presence of conflicting evidence



                                              - 39 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 40 of 51 PageID 2794



regarding the cause of the moisture intrusion in the Building.16 For example,17 VeriClaim’s

photographic evidence shows the extensive patchwork repair on the Building’s roof. Based

on this photographic evidence, a reasonable jury could find that Travelers’ reliance on the

First Vertex Report—which concluded that Vertex “did not observe evidence indicating that

the reported excessive moisture and microbial growth was attributable to roof leaks,” D. App.

(ECF No. 66-1) at 394—was unreasonable. Accordingly, because there is a genuine issue

of material fact on the question whether Travelers conducted a reasonable investigation, the

court declines to dismiss SMM’s § 541.060(a)(7) claim at the summary judgment stage.

                                              D

       Travelers also moves for summary judgment as to SMM’s claim for violation of Tex.

Ins. Code Ann. § 541.061, contending that there is no evidence that Travelers made a

misrepresentation about the Policy. See Tex. Mut. Ins. Co. v. Morris, 383 S.W.3d 146, 150


       16
         SMM disagrees with the conclusions in the First Vertex Report, arguing, inter alia,
that McClure (the Travelers adjuster assigned to SMM’s claim) influenced the wording of
the First Vertex Report and that “one of the edits [McClure made to the report] clearly
involved Vertex’s supposed observation (or lack thereof) of evidence that the moisture
intrusion in the [Building] was attributable to roof leaks.” P. Br. 39. But the summary
judgment evidence does not support SMM’s allegation. William Dery (“Dery”), the architect
of record for the assignment, testified at his deposition that he did not recall what edits had
been made to the First Vertex Report before or after his conversation with McClure. And
SMM’s citation to the entire redline version of the First Vertex Report is insufficient to
permit a reasonable jury to find that any specific change in the First Vertex Report is
attributable to McClure.
       17
         As stated above, see supra note 8, “[w]hen this court denies rather than grants
summary judgment, it typically does not set out in detail the evidence that creates a genuine
issue of material fact.” Valcho, 658 F.Supp.2d at 812 n.8 (citing Swicegood, 2003 WL
22234928, at *17 n.25).

                                            - 40 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 41 of 51 PageID 2795



(Tex. 2012) (holding that misrepresentation must be about what policy says or what policy

covers to recover under § 541.061). SMM has not responded to this ground of Travelers’

motion.

       Although SMM’s failure to respond does not permit the court to enter a “default”

summary judgment on this claim, see, e.g., Tutton v. Garland Indep. Sch. Dist., 733 F. Supp.

1113, 1117 (N.D. Tex. 1990) (Fitzwater, J.), “[a] summary judgment nonmovant who does

not respond to the motion is relegated to [its] unsworn pleadings, which do not constitute

summary judgment evidence,” Bookman v. Shubzda, 945 F. Supp. 999, 1002 (N.D. Tex.

1996) (Fitzwater, J.) (citing Solo Serve Corp. v. Westowne Assocs., 929 F.2d 160, 165 (5th

Cir. 1991)). Moreover,

              [i]f a party fails . . to properly address another party’s assertion
              of fact as required by Rule 56(c), the court may . . . (2) consider
              the fact undisputed for purposes of the motion; [and] (3) grant
              summary judgment if the motion and supporting
              materials—including the facts considered undisputed—show
              that the movant is entitled to it[.]

Fed. R. Civ. P. 56(e)(2), (3). Because SMM has not responded to Travelers’ motion for

summary judgment with specific evidence to support its claim under Tex. Ins. Code Ann. §

541.061, the court grants Travelers’ motion and dismisses this claim.

                                              IX

       The court next turns to SMM’s claims for fraud and negligent misrepresentation based

on the statement in the First Vertex Report (“Alleged Misrepresentation”) that “VERTEX

did not observe evidence that the excessive moisture and microbial growth was attributable


                                             - 41 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 42 of 51 PageID 2796



to roof leaks.” P. Br. 41 (bold font omitted) (quoting D. App. (ECF No. 66-1) at 394).18

                                              A

       The elements of common law fraud in Texas are:

              (1) a material representation was made; (2) it was false when
              made; (3) the speaker either knew it was false, or made it
              without knowledge of its truth; (4) the speaker made it with the
              intent that it should be acted upon; (5) the party acted in
              reliance; and (6) the party was injured as a result.

Choe v. Bank of Am., N.A., 2013 WL 3196571, at *5-6 (N.D. Tex. June 25, 2013) (Fitzwater,

C.J.) (quoting Fluorine On Call, Ltd. v. Fluorogas Ltd., 380 F.3d 849, 858 (5th Cir. 2004)).

The elements of a claim for negligent misrepresentation are:

              (1) the defendant made a representation in the course of his
              business, or in a transaction in which he has a pecuniary interest;
              (2) the defendant supplied false information for the guidance of
              others in their business; (3) the defendant did not exercise
              reasonable care or competence in obtaining or communicating
              the information; and (4) the plaintiff suffered pecuniary loss by
              justifiably relying on the representation.

TIB—The Indep. BankersBank v. Canyon Cmty. Bank, 2014 WL 145284, at *5 (N.D. Tex.

Jan. 15, 2014) (Fitzwater, C.J.) (citing Hurd v. BAC Home Loans Servicing, LP, 880

F.Supp.2d 747, 762 (N.D. Tex. 2012) (Lynn, J.)).

       Travelers moves for summary judgment on SMM’s fraud and negligent

misrepresentation claims on the following grounds: (1) the Alleged Misrepresentation cannot


       18
         To the extent Travelers seeks summary judgment as to any alleged misrepresentation
other than the quoted statement from the First Vertex Report, see D. Br. 32 (setting forth six
possible alleged misstatements), the court grants Travelers’ motion based on SMM’s failure
to raise a genuine issue of material fact with respect to these statements.

                                            - 42 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 43 of 51 PageID 2797



be attributed to Travelers; (2) the Alleged Misrepresentation is a statement of opinion, not

fact; (3) the Alleged Misrepresentation was not false; and (4) SMM did not actually,

reasonably, or justifiably rely on the Alleged Misrepresentation.

                                              B

       To the extent that SMM bases its fraud and negligent misrepresentation claims on the

statement in the First Vertex Report that “VERTEX did not observe evidence indicating that

the reported excessive moisture and microbial growth was attributable to roof leaks,” D. App.

(ECF No. 66-1) at 394, SMM has failed to produce sufficient evidence to enable a reasonable

jury to find that Travelers—the only named defendant in this lawsuit—made the Alleged

Misstatement. SMM contends that William Dery (“Dery”), the architect of record for the

Vertex assignment, “refused to deny that Adam McClure influenced the drafting of the First

Vertex Report,” and “could not foreclose the possibility that the edits to this statement were

made after he spoke with McClure.” P. Br. 41. But the testimony that SMM cites does not

actually support these contentions. Dery in fact testified that “the substance of [Vertex’s]

findings is not influenced.” P. App. (ECF No. 70-1) at 239 (emphasis added). He explained

that

              McClure can ask us to give him the cause of certain conditions.
              And to the extent that we are responding to looking at those
              causes of that—of the conditions that we’re being asked to and
              not other conditions, then we are fulfilling the scope of our
              client, but we are not being influenced on what we put in our
              report.

Id. at 241 (emphasis added). Regarding the redline version of the Alleged Misstatement,


                                            - 43 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22                Page 44 of 51 PageID 2798



Dery testified at his deposition that he did not know what edits to the First Vertex Report had

been made before or after his conversation with McClure. SMM’s reliance on the redline

version of the Alleged Misstatement is therefore alone insufficient to permit a reasonable jury

to find that any specific change was attributable to McClure rather than to Vertex.

                                              C

       SMM has also failed to raise a genuine issue of material fact with respect to its fraud

and negligent misrepresentation claims under an agency theory of liability. In its amended

complaint, SMM alleges that “Vertex, as Travelers’ agent, represented to SMM that, among

other things, Vertex’s professionals had not observed any evidence of roof leaks in the

building.” Am. Compl. ¶ 6. “Generally in Texas, the doctrine of vicarious liability, or

respondeat superior, makes a principal liable for the conduct of his employee or agent.”

F.F.P. Operating Partners, L.P. v. Duenez, 237 S.W.3d 680, 686 (Tex. 2007) (citing Baptist

Mem. Hosp. Sys. v. Sampson, 969 S.W.2d 945, 947 (Tex. 1998)). But under Texas law, a

misrepresentation made through an intermediary is only actionable “if it is intended to

influence a third person’s conduct.” Ernst & Young, L.L.P. v. Pac. Mut. Life Ins. Co., 51

S.W.3d 573, 578 (Tex. 2001); see also Hall v. Douglas, 380 S.W.3d 860, 869 (Tex. App.

2012, no pet.) (“A person making a representation is only accountable for its truth to the

person he seeks to influence and no one else has a right to rely on the representation or make

a claim based upon its alleged falsity.” (citation omitted)).

       Travelers maintains that the First Vertex Report was made only to assist and influence

Travelers, not SMM. SMM has not responded to Travelers’ argument or produced any

                                            - 44 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 45 of 51 PageID 2799



evidence that would enable a reasonable jury to find that Vertex intended SMM to act on the

First Vertex Report. See Ernst & Young, L.L.P., 51 S.W.3d at 578. Accordingly, because

SMM has not produced evidence that would enable a reasonable jury to find that Vertex

made any misrepresentation to SMM, and because SMM has failed to adduce any evidence

that Vertex intended that the First Vertex Report influence SMM’s conduct, Travelers is

entitled to summary judgment dismissing SMM’s fraud and negligent misrepresentation

claims to the extent they are based on statements made by Vertex, as Travelers’ agent.

                                               D

       To the extent that SMM bases its fraud and fraudulent misrepresentation claims on

the statement in Travelers’ June 14, 2018 denial letter—i.e., that “VERTEX did not observe

evidence indicating that the reported excessive moisture and microbial growth was

attributable to roof leaks,” P. App. (ECF No. 70-1) at 175—the court grants Travelers’

motion for summary judgment. A reasonable jury could not find that the quoted statement,

when considered in context, is a false representation of material fact; instead the jury could

only reasonably find that the statement recounts the findings and conclusions set out in the

First Vertex Report.

       The denial letter states, in pertinent part:

              To help in our investigation, VERTEX Companies, Inc. was
              retained to inspect the [Building] as well as review the project
              scope and other pertinent project documents. On December 6,
              2017, VERTEX inspected the exterior, interior, roof, and crawl
              space of the modular building. . . . After a thorough review of
              your damages and the loss facts, VERTEX concluded that the
              deficient site grading was the primary cause of the reported

                                             - 45 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 46 of 51 PageID 2800



              excessive moisture and the microbial growth at the interior of
              the building. A secondary factor that contributed to the
              excessive moisture and microbial growth at the interior was the
              lack of ventilation in the building’s wood-panel siding (skirting)
              that enclosed the crawl space.

              Additionally, VERTEX has made the following observations, but
              not limited to: . . . VERTEX did not observe evidence indicating
              that the reported excessive moisture and microbial growth was
              attributable to roof leaks.

P. App. (ECF No. 70-1) at 174-75 (emphasis added). In the context of Travelers’ denial

letter, the alleged misstatement is true. It is undisputed that Vertex did, in fact, make the

observation in the First Vertex Report that it “did not observe evidence indicating that the

reported excessive moisture and microbial growth was attributable to roof leaks.” See D.

App. (ECF No. 66-1) at 394. As Travelers contends, the repeated statement is merely “a

statement about what Vertex observed during its December 2017 inspection and the

conclusions it reached based on those observations.” D. Br. 38. “Given that Travelers

accurately stated what Vertex concluded in its report, nothing about this statement by

Travelers was a false statement of material fact.” D. Reply 14-15. Because a reasonable jury

could not find that the statement in Travelers’ June 2018 denial letter was false, Travelers is

entitled to summary judgment dismissing SMM’s fraud and negligent misrepresentation

claims to the extent they are based on this statement.




                                            - 46 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 47 of 51 PageID 2801



                                              X

       Finally, the court turns to SMM’s “fraudulent concealment” claim, which the court

treats as a claim for fraud by non-disclosure.19 This claim is based on the allegation that

Vertex and Travelers concealed from SMM and failed to disclose the existence of evidence

that leaks in the roof of the Building were the cause of the water loss and that Vertex had not

actually ruled out other possible causes of the loss.

                                              A

       “Fraud by non-disclosure, a subcategory of fraud, occurs when a party has a duty to

disclose certain information and fails to disclose it.” Bombardier Aerospace Corp. v. SPEP

Aircraft Holdings, LLC, 572 S.W.3d 213, 219 (Tex. 2019) (citing Schlumberger Tech. Corp.

v. Swanson, 959 S.W.2d 171, 181 (Tex. 1997)). The elements of a claim for fraud by non-

disclosure are:

              (1) the defendant deliberately failed to disclose material facts;
              (2) the defendant had a duty to disclose such facts to the
              plaintiff; (3) the plaintiff was ignorant of the facts and did not
              have an equal opportunity to discover them; (4) the defendant
              intended the plaintiff to act or refrain from acting based on the
              nondisclosure; and (5) the plaintiff relied on the non-disclosure,
              which resulted in injury.

Id. at 219-20 (citing cases).


       19
         SMM’s alleges in count 5 of its amended complaint a claim for “Fraudulent
Concealment.” Am. Compl. at 14. “Fraudulent concealment,” however “is a defense to the
statute of limitations.” Stabilis Fund II, LLC v. Compass Bank, 2020 WL 487497, at *6 n.2
(N.D. Tex. Jan. 30, 2020) (Boyle, J.) (citing BP Am. Prod. Co. v. Marshall, 342 S.W.3d 59,
67 (Tex. 2011)). The court assumes that SMM intends to bring a claim for fraud by non-
disclosure.

                                            - 47 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22              Page 48 of 51 PageID 2802



       Travelers moves for summary judgment on this claim. It first contends that there is

no evidence that Travelers knew and deliberately failed to disclose material facts. In support,

it posits that the First Vertex Report, which Travelers provided to SMM, “fully set forth the

basis of all information that was available and the analysis completed by Vertex, including

its conclusions opining that the excessive moisture and mold growth was not attributable to

roof leaks and instead was attributable to deficient site grading and other issues that allowed

moisture to penetrate from under the building,” D. Br. 46; that Vertex, and by extension

Travelers, did not conceal anything; that there is no evidence that Travelers was aware as of

the time of the disclosure of the First Vertex Report that there were any “issues” with the

Vertex Report; that the first time anyone raised a concern regarding the First Vertex Report

was in April 2019, when SMM provided “new information” to Travelers, including the ERA

Reports, and Travelers was asked to reconsider its coverage position; and that when Vertex

issued the Supplemental Vertex Report to Travelers, Travelers disclosed the supplemental

report to SMM. Travelers next maintains that SMM cannot establish that it was ignorant of

the facts and did not have an equal opportunity to discover them because SMM was in fact

aware of more information than Vertex, including, inter alia, the conclusions of its site

superintendent; the Second ERA Report indicating that the moisture was coming from the

roof; descriptions of the rain event on October 23, 2017 with water ponding on the floor of

the Building, which was inconsistent with moisture intrusion coming from under the

building; and AECOM’s March 2018 letter blaming the water intrusion on roof issues.

Finally, SMM contends that SMM did not actually, reasonably, or justifiably rely on Vertex’s

                                            - 48 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 49 of 51 PageID 2803



alleged failure to disclose that there was some evidence that leaks in the roof were the cause

of the water intrusion and that Vertex had not ruled out all causes of the water intrusion

including leaks from the roof because, inter alia, it would not have been reasonable or

justifiable to rely on the alleged non-disclosure given that SMM had statements from its site

superintendent and the Second ERA Report concluding that the moisture came from the roof.

       SMM responds that Travelers did not originally provide Mackie with the VeriClaim

photographs when Mackie gave SMM the First Vertex Report, and it [McClure] encouraged

Mackie to pursue claims against AECOM; that these photographs were not in SMM’s

possession when McClure told Mackie that Travelers was denying SMM’s claim; that when

McClure finally provided SMM with the VeriClaim photographs, Mackie did not understand

their significance because Lee did not possess impressive forensic credentials like Sam Reed

at Vertex; that when McClure provided Mackie with the photographs, he did not inform

Mackie that the photographs undermined the conclusions in the First Vertex Report; that

Mackie clearly did not understand the import of the photographs because he only included

the Vertex Report in his demand letter to AECOM; and that “[t]here exists genuine issues

of fact regarding whether McClure deliberately withheld the photographs to induce SMM to

pursue AECOM, and SMM’s fraudulent concealment claim should proceed to trial.” P. Br.

46.

                                              B

       In its summary judgment response, SMM has narrowed its fraudulent non-disclosure

claim to the allegation that Travelers deliberately withheld the VeriClaim photographs from

                                            - 49 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22               Page 50 of 51 PageID 2804



SMM when it provided SMM with the First Vertex Report. Assuming arguendo that SMM

could establish that the two-week delay in providing SMM with the VeriClaim photographs

was intentional, and not merely an oversight on Travelers’ part, SMM’s claim nevertheless

fails.

         As a preliminary matter, SMM has failed to produce evidence that is sufficient to

enable a reasonable jury to find that Travelers failed to disclose a fact about the Building roof

that SMM did not have an equal opportunity to discover. See Bradford v. Vento, 48 S.W.3d

749 (Tex. 2001) (reversing jury verdict for plaintiff on fraudulent non-disclosure claim where

there was no evidence that defendant knew plaintiff was ignorant of a material fact or that

plaintiff did not have an equal opportunity to discover the truth). SMM has failed to point

to any fact contained with the VeriClaim photographs that it did not already know or have

equal access to at the time it received the First Vertex Report. On the contrary, the evidence

would only enable a reasonable jury to find that Welch (SMM’s site superintendent) was on

site by early September and observed holes, screws, and scratches on the roof when he

inspected it; that Welch reached the conclusion, in November of 2017, that the water

intrusion was coming from the roof, and expressed this opinion to Mackie; and that SMM

had access to billing records and photographs from MRC documenting repairs that had been

made to the roof in September 2017.

         Moreover, SMM has failed to come forward with any proof that it justifiably relied,

to its detriment, on Travelers’ non-disclosure of the VeriClaim photographs. It is undisputed

that the VeriClaim photographs were provided to SMM on January 5, 2018. SMM has failed

                                             - 50 -
 Case 3:20-cv-01883-D Document 87 Filed 06/14/22             Page 51 of 51 PageID 2805



to point to any evidence of an action that it took, or an injury that it suffered, between its

receipt of the First Vertex Report (sometime after December 20, 2017) and when it received

the VeriClaim photographs on January 5, 2018.

       Accordingly, because SMM has failed to create a genuine issue of material fact at

least with respect to these two elements, the court grants Travelers’ motion for summary

judgment dismissing SMM’s claim for fraudulent non-disclosure.

                                         *     *      *

       Accordingly, for the reasons explained, the court grants in part and denies in part

Travelers’ motion for summary judgment.

       SO ORDERED.

       June 14, 2022.



                                             _________________________________
                                             SIDNEY A. FITZWATER
                                             SENIOR JUDGE




                                             - 51 -
